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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


SONY MUSIC ENTERTAINMENT,et a!..

                       Plaintiffs,

       V.                                        Civil Action No. I:18cv0950(LO/JFA)

COX COMMUNICATIONS,INC.,et aL

                       Defendants.




                                     AMENDED ORDER


       The order(Docket no. 15) allowing for an extension of time, entered on August 21, 2018,

is hereby amended to require that a responsive pleading be filed on or before Monday,

September 24, 2018.

       Entered this 24''* day of August, 2018.

                                                                  /S/
                                                     John F, Anderson
                                                    iloiielStatCG r/agiGtrDtc Judge—
                                                    John F. Andersoh
                                                    United States Magistrate Judge
Alexandria, Virginia
